   Case: 2:18-cv-00659-ALM-KAJ Doc #: 1 Filed: 07/05/18 Page: 1 of 8 PAGEID #: 1




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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO

SPENCER NEAL,                                  )       CASE NO.:
                                               )
         Plaintiff,                            )       CIVIL RIGHTS
                                               )
Vs.                                            )       COMPLAINT FOR INJUNCTIVE
                                               )       RELIEF:
CF VENTURES LTD.,                              )
                                               )       1ST CAUSE OF ACTION:​ For Denial of
         Defendant.                            )       Access by a Public Accommodation in
                                               )       Violation of the Americans with Disability
                                               )       Act of 1990 (“Title III” and “ADA”),
                                               )       42 U.S.C. §§ 12181 ​et seq​.

         Plaintiff SPENCER NEAL, Individually, on his behalf and on behalf of all other mobility

impaired individuals similarly situated (hereinafter “NEAL”), hereby complains against the

Defendant CF VENTURES LTD. (hereinafter “CF”), an Ohio limited partnership, for injunctive

relief, attorney’s fees, litigation expenses, and costs pursuant to the Americans with Disabilities

Act, 42 U.S.C. 12181, et seq. (“ADA”) and alleges as follows:

      1. Plaintiff, Spencer Neal, is an individual residing in Akron, Ohio, in the County of

         Summit.



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Case: 2:18-cv-00659-ALM-KAJ Doc #: 1 Filed: 07/05/18 Page: 2 of 8 PAGEID #: 2




2. Defendant’s property, La Scala Restaurant, is located at 4199 W. Dublin Granville Rd.,

   Dublin, Ohio, in the County of Franklin.

3. Venue is properly located in the Southern District of Ohio because venue lies in the

   judicial district of the property situs. The Defendant’s property is located in and does

   business within this judicial district.

4. Pursuant to 28 U.S.C. 1331 and 28 U.S.C. 1343, this Court has been given original

   jurisdiction over actions which arise from the Defendant’s violations of Title III of the

   Americans with Disabilities Act, 42 U.S.C. 12181, et seq. See also 28 U.S.C. 2201 and

   2202.

5. Plaintiff Spencer Neal is an individual with disabilities as defined by the ADA. Mr. Neal

   is paralyzed as a result of spina bifida and relies on a wheelchair to ambulate. Spencer

   Neal has visited the property on June 30, 2018, which forms the basis of this lawsuit. Mr.

   Neal plans to return as a customer of Defendant’s facility on his next scheduled trip to the

   Columbus area in July 2018, if the Defendant’s facility is made fully accessible to a

   disabled person in a wheelchair, and to avail himself of the facility and its services. The

   Plaintiff has personally encountered architectural barriers at the subject property, which

   barriers are enumerated herein. The barriers to access at the property have denied him the

   full and equal access to the property.

6. Defendant owns, leases, leases to, or operates a place of public accommodation as

   defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and

   36.104. Defendant is responsible for complying with the obligations of the ADA. The

   place of public accommodation that the Defendant owns, operates, leases or leases to is



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Case: 2:18-cv-00659-ALM-KAJ Doc #: 1 Filed: 07/05/18 Page: 3 of 8 PAGEID #: 3




   known as La Scala Restaurant, located at 4199 W. Dublin Granville Rd., Dublin, Ohio, in

   the County of Franklin.

7. Spencer Neal has a realistic, credible, existing and continuing threat of discrimination

   from the Defendant’s non-compliance with the ADA with respect to this property as

   described but not necessarily limited to the allegations in paragraph 9 of this complaint.

   Mr. Neal has reasonable grounds to believe that he will continue to be subjected to

   discrimination in violation of the ADA by the Defendant. Spencer Neal desires to visit

   Defendant’s property not only to avail himself of the goods and services available at the

   property but to assure himself that this property is in compliance with the ADA so that he

   and others similarly situated will have full and equal enjoyment of the property without

   fear of discrimination.

8. The Defendant has discriminated against the individual Plaintiff by denying him access

   to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

   and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 seq.

9. The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff

   in violation of the ADA by failing to, inter alia, have accessible facilities by January

   26,1992 (or January 26,1993, if Defendant has 10 or fewer employees and gross receipts

   of $500,000 or less). A preliminary inspection of Defendant’s property has shown that

   violations exist. These violations, which were personally encountered by Spencer Neal,

   include, but are not limited to:




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Case: 2:18-cv-00659-ALM-KAJ Doc #: 1 Filed: 07/05/18 Page: 4 of 8 PAGEID #: 4




      a. The facility’s accessible parking spaces are not identified with signs that include

          the International Symbol of Accessibility in violation of 502.6 of the 2010

          ADAAG.

      b. The facility’s accessible parking space access aisles are not sufficiently marked so

          as to discourage parking in them; most are faded and in need of new marking in

          violation of 502.3.3 of the 2010 ADAAG.

      c. The exterior accessible route from the accessible parking spaces is not stable, firm

          and slip-resistant; there exists uneven and cracked pavement in violation of 302.1

          of the 2010 ADAAG.

      d. The running slope of the exterior curb ramp is steeper than 1:12 in violation of

          406.1 and 405.2 of the 2010 ADAAG.

      e. At the top of the exterior curb ramp there is not a 36 inch long landing in violation

          of 406.4 of the 2010 ADAAG.

      f. The exterior curb ramp’s flares have slopes that exceed 1:10 in violation of 406.3

          of the 2010 ADAAG.

      g. The exterior accessible route is obstructed by items; therefore the route is not at

          least 36 inches wide in violation of 403.5.1 of the 2010 ADAAG.

      h. The facility lacks at least one accessible toilet room that is available to the public

          in violation of 603, ​et seq.​ of the 2010 ADAAG.

      i. Clearance is not provided around the water closet measuring at least 60 inches

          from the side wall and at least 56 inches from the rear wall in violation of 604.3.1

          of the 2010 ADAAG.



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Case: 2:18-cv-00659-ALM-KAJ Doc #: 1 Filed: 07/05/18 Page: 5 of 8 PAGEID #: 5




       j. The toilet room lacks grab bars on the rear and side walls in violation of 604.5.2

           of the 2010 ADAAG.

       k. The pipes below the lavatory are not insulated or otherwise configured to protect

           against contact in violation of 606.5 of the 2010 ADAAG.

       l. The bottom edge of the reflecting surface of the mirror over the lavatory exceeds

           40 inches above the floor in violation of 603.3 of the 2010 ADAAG.

       m. Less than 17 inches of clear floor space extends under the lavatory in violation of

           306.2 of the 2010 ADAAG.

       n. The front approach to the pull side of the door to the toilet room lacks at least 18

           inches of maneuvering clearance beyond the latch side plus 60 inches clear depth

           in violation of 404.2.4 of the 2010 ADAAG.

       o. The toilet room has a privacy wall and the door swings in; there is not at least 24

           inches of maneuvering clearance beyond the door latch side and at least 48 inches

           to the privacy wall in violation of 404.2.4 of the 2010 ADAAG.

10. The discriminatory violations described in paragraph 9 are not an exclusive list of the

   Defendant’s ADA violations. Plaintiff requires the inspection of the Defendant’s place of

   public accommodation in order to photograph and measure all of the discriminatory acts

   violating the ADA and all of the barriers to access. The individual Plaintiff, and all other

   individuals similarly situated, have been denied access to, and have been denied the

   benefits of services, programs and activities of the Defendant’s buildings and its

   facilities, and have otherwise been discriminated against and damaged by the Defendant

   because of the Defendant’s ADA violations, as set forth above. The individual Plaintiff,



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Case: 2:18-cv-00659-ALM-KAJ Doc #: 1 Filed: 07/05/18 Page: 6 of 8 PAGEID #: 6




   and all others similarly situated will continue to suffer such discrimination, injury and

   damage without the immediate relief provided by the ADA as requested herein. In order

   to remedy this discriminatory situation, the Plaintiff requires an inspection of the

   Defendant’s place of public accommodation in order to determine all of the areas of non-

   compliance with the Americans with Disabilities Act.

11. Defendant has discriminated against the individual Plaintiff by denying him access to full

   and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of its place of public accommodation or commercial facility in violation

   of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant

   continues to discriminate against the Plaintiff, and all those similarly situated by failing to

   make reasonable modifications in policies, practices or procedures, when such

   modifications are necessary to afford all offered goods, services, facilities, privileges,

   advantages or accommodations to individuals with disabilities; and by failing to take such

   efforts that may be necessary to ensure that no individual with a disability is excluded,

   denied services, segregated or otherwise treated differently than other individuals because

   of the absence of auxiliary aids and services. The barriers to access on the Defendant’s

   property, and the discriminatory practices and policies of Defendant, have made it

   difficult to access and use the facility.

12. Plaintiff is without adequate remedy at law and is suffering irreparable harm. Plaintiff has

   retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

   litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR

   36.505.



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Case: 2:18-cv-00659-ALM-KAJ Doc #: 1 Filed: 07/05/18 Page: 7 of 8 PAGEID #: 7




13. Defendant is required to remove the existing architectural barriers to the physically

   disabled when such removal is readily achievable for its place of public accommodation

   that have existed prior to January 26,1992, 28 CFR 36.304(a); in the alternative, if there

   has been an alteration to Defendant’s place of public accommodation since January

   26,1992, then the Defendant is required to ensure to the maximum extent feasible, that

   the altered portions of the facility are readily accessible to and useable by individuals

   with disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally,

   if the Defendant’s facility is one which was designed and constructed for first occupancy

   subsequent to January 26,1993, as defined in 28 CFR 36.401, then the Defendant’s

   facility must be readily accessible to and useable by individuals with disabilities as

   defined by the ADA.

14. Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

   Injunctive Relief, including an order to require the Defendant to alter its property to make

   those facilities readily accessible and useable to the Plaintiff and all other persons with

   disabilities as defined by the ADA; or by closing the facility until such time as the

   Defendant cures its violations of the ADA.

   WHEREFORE, Plaintiff respectfully requests:

A. The Court issue a Declaratory Judgment that determines that the Defendant at the

   commencement of the subject lawsuit is in violation of Title III of the Americans with

   Disabilities Act, 42 U.S.C. § 12181 et seq.

B. Injunctive relief against the Defendant including an order to make all readily achievable

   alterations to the facility; or to make such facility readily accessible to and usable by



                                                                                                 7
Case: 2:18-cv-00659-ALM-KAJ Doc #: 1 Filed: 07/05/18 Page: 8 of 8 PAGEID #: 8




   individuals with disabilities to the extent required by the ADA; and to require the

   Defendant to make reasonable modifications in policies, practices or procedures, when

   such modifications are necessary to afford all offered goods, services, facilities,

   privileges, advantages or accommodations to individuals with disabilities; and by failing

   to take such steps that may be necessary to ensure that no individual with a disability is

   excluded, denied services, segregated or otherwise treated differently than other

   individuals because of the absence of auxiliary aids and services.

C. An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C. § 12205.

D. Such other relief as the Court deems just and proper, and/or is allowable under Title III of

   the Americans with Disabilities Act.

                                  Respectfully submitted,

                                  /s/ ​COLIN G. MEEKER
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